Case 3:16-md-02738-MAS-RLS   Document 33227   Filed 09/03/24   Page 1 of 39 PageID:
                                   257325



                    UNITED STATES DISTRICT COURT
                       DISTRICT OF NEW JERSEY


    IN RE: JOHNSON & JOHNSON              MDL No. 16-2738 (MAS) (RLS)
    TALCUM POWDER PRODUCTS
        MARKETING, SALES
     PRACTICES, AND PRODUCTS
       LIABILITY LITIGATION


        THIS DOCUMENT RELATES TO ALL CASES


      PLAINTIFFS’ STEERING COMMITTEE’S OPPOSITION TO
  DEFENDANTS’ OBJECTIONS TO THE SPECIAL MASTER’S ORDER ON
    DEFENDANTS’ MOTION TO COMPEL MR. HESS’S DEPOSITION
                         TESTIMONY
Case 3:16-md-02738-MAS-RLS                      Document 33227               Filed 09/03/24           Page 2 of 39 PageID:
                                                      257326



                                                  TABLE OF CONTENTS

  INTRODUCTION .....................................................................................................1

  BACKGROUND .......................................................................................................3

  LEGAL STANDARD ..............................................................................................12

  ARGUMENT ...........................................................................................................13

    I.      Defendants’ Objections are Untimely. ..........................................................13

    II. The Special Master Set Clear and Proper Limitations on the Deposition of
    Paul Hess, and Counsel’s Instructions Not to Answer Complied With Those
    Limitations. ...........................................................................................................15

         A. The Special Master’s Limitations Have Been Consistent..........................15

         B. Counsel’s Instructions Not to Answer Complied with the Special Master’s
         Proper Limitations.............................................................................................16

            1. Questions Regarding Hess’s Prior Testing in the MDL. ........................17

            2. Questions Regarding Hess’s Other Prior Talc Testing From Other Cases
            Involving Other Talc Products. ......................................................................19

            3. Questions Regarding Illumination and Color Filtering. .........................21

            4. Questions Regarding the Calidria Reference Sample. ...........................24

            5. Questions Regarding the Chrysotile Reference Sample in the ISO
            22262-1 Methodology. ...................................................................................26

            6. Questions Regarding Drs. Su and Wylie’s Reviews of Dr. Longo’s
            Reports. ..........................................................................................................28



                                                                ii
Case 3:16-md-02738-MAS-RLS                  Document 33227             Filed 09/03/24         Page 3 of 39 PageID:
                                                  257327



           7. Questions Regarding the Effect of Switching Oils. ................................29

           8. Other Questions Regarding Hess’s Testing. ...........................................30

    III.      Dr. Longo’s Chrysotile Report Should Not Be Stricken. ..........................31

  CONCLUSION ........................................................................................................33




                                                           iii
Case 3:16-md-02738-MAS-RLS                  Document 33227              Filed 09/03/24         Page 4 of 39 PageID:
                                                  257328



                                       TABLE OF AUTHORITIES

  Cases
  In re ConAgra Foods, Inc.,
    90 F. Supp. 3d 919 (C.D. Cal. 2015) ....................................................................33
  D’Argenzio v. Bank of Am. Corp.,
    877 F. Supp. 2d 202 (D.N.J. 2012) .......................................................................17
  Hopkins v. NewDay Fin., LLC,
    No. 07-3679, 2008 WL 4657822 (E.D. Pa. Oct. 17, 2008) ..................................12
  James v. Osmose, Inc.,
    No. 2014-64, 2015 WL 9239789 (D.V.I. Dec. 17, 2015) .....................................12
  Maurer v. Williams,
    No. 1:11cv2260, 2013 WL 1438092 (M.D. Pa. Apr. 9, 2013) .............................12
  Profit Point Tax Techs., Inc. v. DPAD Grp., LLP,
    No. 2:19cv698, 2021 WL 1968270 (W.D. Pa. Mar. 3, 2021) ...............................12
  Max’s Seafodd Café ex rel. Lou-Ann, Inc. v. Quinteros,
    176 F.3d 669 (3d Cir. 1999) ..................................................................................17
  Rules

  Fed. R. Civ. P. 53(f)(3)-(5) .......................................................................................12
  Federal Rule of Civil Procedure 30(c)(2) ............................................................2, 12
  Federal Rule of Civil Procedure 37(c)(1) ................................................................32
  Other Authorities
  11-cv-1846,
    2016 U.S. Dist. LEXIS 17596, at *59-60 (N.D. Cal. Feb. 10, 2016) ..................33




                                                           iv
Case 3:16-md-02738-MAS-RLS             Document 33227   Filed 09/03/24   Page 5 of 39 PageID:
                                             257329



           Plaintiffs, by and through the Plaintiffs’ Steering Committee (“PSC”), submit

  this Memorandum of Law in opposition to Defendants’ Objections to the Special

  Master’s Order On Defendants’ Motion to Compel Mr. Hess’s Deposition Testimony.

                                        INTRODUCTION

           After the Special Master clearly limited the deposition of Material Analytical

  Services, LLC (“MAS”) analyst Paul Hess to his “personal observations,”

  Defendants decided to ignore that ruling and ask whatever questions they wanted

  anyway. Throughout Hess’s deposition, defense counsel made clear that he intended

  to conduct a wide-ranging expert deposition where he would ask Hess about “his

  knowledge, experience, and training and how he has formulated the opinions that he

  has stated in [Dr. Longo’s] reports.”1 But Hess did not formulate any opinions in any

  report at issue in this case. Indeed, Plaintiffs designated Dr. William Longo, not

  Hess, as their material science expert. The Special Master acknowledged this reality

  by cabining Hess’s deposition to the personal observations he made when

  conducting the underlying PLM analyses that provided part of the factual basis for

  Dr. Longo’s Fourth Supplemental MDL Report. The Special Master repeatedly

  reiterated these tight limits over defense counsel’s strenuous objections, never

  wavering in its decision to limit this fact deposition to a narrow set of personal




  1
      Exhibit A, Hess Dep. 162:16-18
                                                1
Case 3:16-md-02738-MAS-RLS           Document 33227         Filed 09/03/24      Page 6 of 39 PageID:
                                           257330



  observations that Hess made while performing analyses of specific samples that are

  the subject of Dr. Longo’s Fourth Supplemental MDL report.

         When defense counsel strayed from these boundaries and attempted to replace

  the Special Master’s view of the deposition’s proper scope with his own, Plaintiffs’

  and Hess’s counsel instructed Hess not to answer, consistent with the Special

  Master’s ruling. On July 22, Defendants moved to compel another deposition of

  Hess and for sanctions, claiming counsel’s instructions not to answer were improper.

  See ECF No. 32993.

         But counsel’s instructions not to answer comported not only with Federal Rule

  of Civil Procedure 30(c)(2), which explicitly allows an attorney “to instruct a

  deponent not to answer . . . to enforce a limitation ordered by the court,” but also the

  Special Master’s instruction that counsel “instruct the witness not to answer” if the

  “questioning is going out of th[e] boundaries” the Court set.2 The Special Master

  agreed, sustaining a majority of Plaintiffs’ and Hess’s counsel’s objections and again

  reinforcing the deposition’s parameters: “Hess may only be questioned about his

  personal or firsthand knowledge regarding the tests Longo relied upon in his expert

  reports.”3 Special Master Order No. 26 at 3 (Deciding Defendants’ Motion to

  Compel Hess Deposition Testimony, ECF No. 33067).


  2
   Id. at 43:18-21.
  3
   The parties have agreed these are the tests listed in Tables 1-7 in Dr. Longo’s Fourth
  Supplemental MDL Report. See Special Master Order No. 26 at 3 n.2.
                                                  2
Case 3:16-md-02738-MAS-RLS      Document 33227      Filed 09/03/24   Page 7 of 39 PageID:
                                      257331



        Unhappy with the outcome, Defendants now petition this Court, claiming to

  object to the Special Master’s order on their motion to compel. But in reality,

  Defendants challenge the scope of the Hess deposition itself. These arguments are

  not only untimely challenges to the Special Master’s June 12 and July 10 rulings,

  but they also lack merit because the Special Master’s limitations are appropriate.

                                   BACKGROUND

        All parties acknowledge Hess’s expertise as a polarized light microscopy

  (PLM) microscopist. But that is of no moment as he has not been designated as an

  expert witness in this case. While Hess performed the PLM analyses that are used in

  Dr. Longo’s expert reports, he did so at the direction of Dr. Longo. Dr. Longo, not

  Hess, is the expert who ultimately opined on the presence of chrysotile in Johnson

  & Johnson’s (“J&J”) talcum powder products and on the methodology used to make

  those findings.

        Defendants paint a wholly inaccurate picture of Dr. Longo and his

  involvement in his own expert report, claiming that Dr. Longo knows and does little

  to nothing and that Hess is the actual expert. Defs.’ Objs. at 38-39. For example,

  Defendants exaggerate that Dr. Longo does not have experience with PLM analysis

  by arguing that he has not taken any courses on using PLM to detect asbestos. Id. at

  10. But Dr. Longo explained that he has “a Ph.D. in material science and engineering

  where you know everything about every type of microscope, et cetera, and typically

                                           3
Case 3:16-md-02738-MAS-RLS           Document 33227         Filed 09/03/24     Page 8 of 39 PageID:
                                           257332



  Ph.D. levels don't take basic PLM classes,” he “know[s] the science really well on

  PLM,” and “could analyze those samples but it would take [him] all day so [he

  doesn’t] do it.” Exhibit B, Longo Clark Hr’g (Vol. I) 43:20-44:2. Rather, MAS

  scientists like Hess perform the analysis of samples at the direction of Dr. Longo,4

  who also views structures under the polarized light microscope. See id. at 44:12-17.

  Dr. Longo also reviews the documentation from the testing, including

  photomicrographs, before forming his own conclusions as reflected in his expert

  report. See e.g., Exhibit D, Longo’s Fourth Supplemental MDL Report (April 29,

  2024). Just because Dr. Longo is not the analyst doing the underlying initial review

  of samples does not mean he does not contribute to the analysis. Most crucially, it

  does not mean that his opinions regarding the presence of chrysotile in talc are not

  his own.5 Nor does it make Hess an “expert” subject to questioning as an expert, in

  this matter.

         In light of this context, the Special Master permitted Defendants to conduct a

  limited-scope fact deposition to explore Hess’s “firsthand information” concerning



  4
    For example, following initial test results in which Hess was comparing what he observed
  under the microscope with the NIST 1866b CSM, Dr. Longo directed him to look to the SG-210
  chrysotile as the standard. Exhibit C, Longo MDL Dep. 5/2/2024, at 152:10-154:5.
  5
    Analysts also assist Drs. Longo and Rigler in examining samples by TEM. It is telling that there
  has been no suggestion by Defendants that Drs. Longo and Rigler’s opinions are not their own,
  but the underlying MAS employees. Moreover, all labs, including J&J’s lab of more than a
  decade, R.J. Lee, incorporate the work of lab analysts in reaching their conclusions. Defendants’
  expert Dr. Sanchez does not perform the analysis of samples but bases his opinions on the
  underlying work of others. See, e.g., Exhibit E, Sugarman Hr’g (Volume XIV) 3211:23-3212:4.
                                                  4
Case 3:16-md-02738-MAS-RLS       Document 33227      Filed 09/03/24   Page 9 of 39 PageID:
                                       257333



  the testing and assistance he provided to Dr. Longo in relation to Longo’s Fourth

  Supplemental MDL Report. Special Master Order No. 23 (Deciding Plaintiffs’

  Motion to Quash or for Protective Order Regarding Subpoena Directed at Paul Hess,

  ECF No. 32195) at 3 n.7. Hess sat for the Court-ordered deposition on July 10, 2024.

        From the deposition’s outset, it became apparent that defense counsel intended

  to exceed the deposition’s limited scope to harass Hess and attempt to elicit expert

  opinion testimony. After covering preliminary matters, defense counsel asked Hess

  about the Food & Drug Administration finding chrysotile, i.e., asbestos, “in a bottle

  of Johnson & Johnson [(“J&J”)]” baby powder using the transmission electron

  microscopy (“TEM”) methodology, not the PLM methodology Dr. Longo used in

  relation to chrysotile testing, which is the subject of the November 17, 2023

  disclosure in the MDL. Hess Dep. at 20:17-20. Hess’s counsel immediately objected,

  pointing out that “Hess is a fact witness that we produced because of [a] Court Order.

  He is not here to opine on expert testimony or hearsay issues.” Id. at 20:21-25.

  Defense counsel’s flippant response made clear that he intended to ignore the Special

  Master’s limitations on Hess’s deposition and counsel’s attempt to enforce them: “I

  don’t know what you’re saying, but I am sure I disagree with it. So let’s just see how

  it goes with individual questions. Because I am definitely going to be asking him

  about his work.” Id. at 21:1-5. Despite counsel’s reasonable efforts to enforce the




                                            5
Case 3:16-md-02738-MAS-RLS              Document 33227          Filed 09/03/24      Page 10 of 39
                                        PageID: 257334



Special Master’s limitations, defense counsel complained that Hess’s and Plaintiffs’

counsel6 were “just being obstructionist.” Id. at 27:11-12.

       Given counsel’s justifiable concerns about “the mode of the deposition,”

Plaintiffs’ and Hess’s counsel called the Special Master for “direction” on how they

should handle defense counsel’s brazen disregard for the Court-ordered limitations

on Hess’s deposition, acknowledging that they did not know “how to even address

these circumstances.” Id. at 29:14-17, 30:20-23. Plaintiffs’ counsel noted the Court’s

prior ruling that “Mr. Hess is a fact witness, . . . not an expert,” and reminded the

Court that Hess simply worked “at MAS lab for purposes of Dr. Longo rendering his

expert opinion.” Id. at 29:2-5. Accordingly, Plaintiffs objected to defense counsel

examining Hess on “reports by Dr. Longo and Rigler” and “the full scope of Dr.

Longo’s reports, which are not [Hess’s] work.” Id. at 29:6-12.7

       Plaintiffs’ counsel further argued that it was “not fair” or appropriate for

defense counsel to ask Hess about material in reports not at issue in Longo’s Fourth

Supplemental MDL Expert Report and that discussed analyzing talc for chrysotile

using a method other than Dr. Longo’s current PLM methodology. Id. at 34:9-35:2.


6
  This Response refers to all plaintiffs’ attorneys who objected to defense counsel’s questioning
as Plaintiff’s counsel.
7
  Dr. Longo’s reports outline in narrative form his methodology, the references (both published in
the literature and by J&J) supporting the appropriateness of the methodology, background
information about where the talc was obtained, his opinions about the results of the testing, among
other topics. Hess is not responsible for these aspects of Dr. Longo’s reports. Hess’s involvement
is limited to the analysis of the material and documenting the structures of interest on bench sheets
and taking photomicrographs.
                                                 6
Case 3:16-md-02738-MAS-RLS         Document 33227       Filed 09/03/24   Page 11 of 39
                                   PageID: 257335



In other words, Hess’s “work was the bench work [for Dr. Longo] and the

photomicrographs,” and Plaintiffs’ and Hess’s counsel objected to questions going

“beyond that.” Id. at 35:2-6.

      From there, the Special Master repeatedly agreed with Plaintiffs’ counsel’s

arguments and reiterated that he ordered a limited-scope fact deposition of Hess. He

explained that Plaintiffs’ counsel “is correct that the subject matter of the deposition

should only be limited to what I call . . . this new method,” i.e., the PLM analysis set

forth in Dr. Longo’s Fourth Supplemental MDL Report, and that “the deposition was

only limited to Hess’s personal involvement.” Id. at 35:13-17, 36:3-5 (emphasis

added). Accordingly, defense counsel’s questions ha[d] to be limited to only what

Hess did, his tests, his personal observations. The deposition is not to get Hess’s

opinion on what somebody else did or what somebody else opines:

            Mr. Hess is there to testify about his firsthand personal
      knowledge about . . . this new testing method; . . . that is precisely why
      Mr. Hess’ deposition was permitted. It was not permitted to go over
      ground that was covered previously in the case, the TEM tests[.] . . .
            [T]hose [are the] parameters of why Mr. Hess’ deposition was
      permitted, those should be the parameters of this deposition.

Id. at 36:15-21, 37:8-11 (emphasis added).

      Undeterred by the Special Master’s re-articulation of its prior limitation on

Hess’s deposition, defense counsel argued that the Court should modify its ruling so

he could ask Hess wide-ranging questions “about this kind of [PLM] analysis” and

Longo’s Second Supplemental report which was previously addressed by the Court’s
                                           7
Case 3:16-md-02738-MAS-RLS         Document 33227      Filed 09/03/24   Page 12 of 39
                                   PageID: 257336



April 2020 Daubert order. Id. at 38:6-8. In the process, he made plain his disdain for

the Special Master’s authority and forecast his continued intent to ignore it,

complaining that he “really [felt] like [he] should be able to ask the witness these

questions” without needing to “explain to everybody” his reasons for exceeding the

deposition’s limitations. Id. at 38:17-19.

      The Special Master did not waiver. The Court found that defense counsel

could ask Hess “about the tests using the new method,” but “the purpose of the

deposition is not to say, Why did this person not find chrysotile and you found

chrysotile? Ask [Hess] about his tests and what he did and how he did it.” Id. at 39:7-

13.

      Defense counsel did not relent. He again attempted to expand the deposition’s

scope, contending that he was “asking about [Hess’s] work” because Hess “did the

work on both” reports on which he wanted to ask questions. Id. at 39:14-15.

Plaintiffs’ counsel intervened, noting that the old 2019 report “was for amphiboles,”

not chrysotile, the PLM work “was not done at MAS, . . . was done by another lab,

and . . . was fully covered by the” earlier proceedings in this case. Id. at 39:16-21.

Plaintiffs’ counsel further objected that defense counsel improperly attempted to lay

“foundation” from “the prior report when some of that work was not” Hess’s work.

Id. at 40:1-3. Simply put, “the 2019 report is off the table” because the “deposition

today is supposed to be about the report here at issue [Dr. Longo’s April 29, 2024

                                             8
Case 3:16-md-02738-MAS-RLS           Document 33227     Filed 09/03/24   Page 13 of 39
                                     PageID: 257337



Fourth Supplemental MDL Report], nothing beyond that report[.]” Id. at 40:4, 17-

20.

      The Special Master was “persuaded by plaintiffs’ argument” and again set

forth the deposition’s boundaries:

      the tests that [Hess] did, how he did it, his observations. He is not there
      to answer questions about why did they get the result in a 2019 test and
      a different result in a later test; that’s not why he is there.
              He is there to talk about his personal observation about the new
      test; that’s it.

Id. at 41:6-14 (emphasis added).

      Defense counsel again refused to accept the Special Master’s order,

complaining that he wanted to ask Hess about “his own work, doing it the exact same

way, why he came to conclusion—different conclusion one time versus the other, his

own personal PLM work.” Id. at 41:15-19. The Special Master rejected the

argument, stating that “[i]f it’s not one of those tests [on an exhibit list the Special

Master referred to in oral argument], it’s off limits. That’s not the purpose of the

deposition.” Id. at 42:4-6.

      For a fourth time, defense counsel refused to accept the Special Master’s clear

order, grousing that, “I am only asking about his PLM work in 1.550 and 1.560

[referring to different oils used to prepare microscope slides for viewing under a

PLM microscope], which is the subject of the deposition. I’m not asking anything




                                           9
Case 3:16-md-02738-MAS-RLS            Document 33227       Filed 09/03/24     Page 14 of 39
                                      PageID: 257338



about any PLM work.”8 Id. at 42:7-12. The Court rebuffed the argument—again—

explaining—again—that

       one of the arguments for why the exception [Plaintiffs’ motion to quash
       Hess’s deposition] was denied was because those [i.e., defense] experts
       prepared detailed reports rebutting the plaintiffs’ experts and in those
       reports they attached as exhibits the list of the samples that are at issue
       regarding this new method. That’s it. That’s it. Those are the tests at
       issue.”

Id. at 42:19-43:1 (emphasis added).

       Remarkably, this did not end the matter. Defense counsel, for a fifth time,

pleaded with the Special Master to change his ruling, explaining that, although he

professed to understand the Court’s ruling, he wanted to ask Hess about conclusions

from a prior report because he allegedly “need[ed] to understand what changed

between the two times [Hess] looked at this with 1.550 oil to understand his

conclusions.” Id. at 43:2-7. This argument did not sway the Special Master. He

explained—yet again—that:

       [I]f you’re asking about that, my ruling would be that’s off limits; that’s
       not the purpose of this deposition, not to compare old tests to new tests.
              The purpose of this deposition is to ask him about his personal
       observations regarding the new test; that’s what was in the defendant’s
       papers. They didn’t say anything about asking him to compare old to
       new.
              That’s my ruling. If the defendants9 [sic] think the questioning is
       going out of those boundaries, instruct the witness not to answer. We’ll
8
  Presumably, defense counsel misspoke when he said that he was “not asking anything about any
PLM work.” Id. at 42:11-12. In the immediately preceding sentence, he said that he was “only
asking about his PLM work,” and throughout the deposition he repeatedly asked Hess about PLM
work. Id. at 42:7-8.
9
  The context makes clear that the Special Master meant to refer to the Plaintiffs.
                                             10
Case 3:16-md-02738-MAS-RLS         Document 33227      Filed 09/03/24    Page 15 of 39
                                   PageID: 257339



      look at the transcript and we’ll make a ruling on a more fulsome record,
      but I don’t know what else I can say, Counsel.
             It really should be a pretty easy deposition. You have the tests at
      issue. Mr. Hess is only going to testify about his personal observations.
      To me that’s pretty—the boundaries are pretty clear. So I don’t know
      what else I can say.

Id. at 43:8-44:4 (emphasis added).

      Unsurprisingly, given his recalcitrance with the Special Master, defense

counsel repeatedly overstepped the Court-imposed boundaries on Hess’s deposition.

When this happened, Plaintiffs’ and Hess’s counsel “instructed the witness not to

answer,” as the Special Master explicitly instructed. Id. at 43:18-21.

      Defendants subsequently moved to compel another deposition of Hess and for

sanctions of Plaintiffs’ and Hess’s counsel. ECF No. 32993. The Special Master

largely denied Defendant’s motion, making the deposition’s parameters abundantly

clear yet again. See Special Master Order No. 26 at 2 (“Since Hess was not

designated to testify as an expert at trial, the SM did not authorize Hess to be deposed

as if he were a testimonial expert.); id. (“[T]he SM ruled that Hess’s deposition was

authorized to fill in the factual gaps in Longo’s testimony.”); id. (“[T]he SM made it

clear that Hess’s deposition should only cover his firsthand or personal knowledge

about the tests at issue in Longo’s expert reports.”); id. at 3 (“Hess may only be

questioned about his personal or firsthand knowledge regarding the tests Longo

relied upon in his expert reports.”).



                                          11
Case 3:16-md-02738-MAS-RLS        Document 33227      Filed 09/03/24   Page 16 of 39
                                  PageID: 257340



                               LEGAL STANDARD

      Federal Rule of Civil Procedure 30(c)(2) provides that a “person may instruct

a deponent not to answer . . . to enforce a limitation ordered by the court.” See also

James v. Osmose, Inc., No. 2014-64, 2015 WL 9239789, at *4 (D.V.I. Dec. 17, 2015)

(refusing to “conclude that the instructions not to answer were improper” when the

questions were, among other things, “outside the limited scope of discovery

authorized by the District Court”). Moreover, an attorney may instruct a deponent

not to answer if she “has substantial grounds to believe that [a] question is outside

the limited scope of discovery.” Hopkins v. NewDay Fin., LLC, No. 07-3679, 2008

WL 4657822, at *3 (E.D. Pa. Oct. 17, 2008). And “even if counsel’s instruction to a

deposition witness not to answer a question [does] not fall within the Fed. R. Civ. P.

30(c)(2) exceptions, that [does] not necessarily mean that the deposition should be

reconvened.” Profit Point Tax Techs., Inc. v. DPAD Grp., LLP, No. 2:19cv698, 2021

WL 1968270, at *3 (W.D. Pa. Mar. 3, 2021) (citing Maurer v. Williams, No.

1:11cv2260, 2013 WL 1438092, at *7 (M.D. Pa. Apr. 9, 2013)).

      The Court reviews the Special Master’s factual findings and legal conclusions

de novo and his rulings on procedural matters for an abuse of discretion. Order

Regarding Special Master’s Duties & Authority at 3, ECF No. 704; Fed. R. Civ. P.

53(f)(3)-(5).




                                         12
Case 3:16-md-02738-MAS-RLS             Document 33227        Filed 09/03/24     Page 17 of 39
                                       PageID: 257341



                                       ARGUMENT

     I.      Defendants’ Objections are Untimely.

          Hess’s deposition “really should [have been] a pretty easy deposition.” Hess

Dep. at 43:24-25. Defendants, however, made it difficult by refusing to accept the

Special Master’s repeated rulings limiting the scope of Hess’s fact deposition and

attempting to impose their will on Hess and Plaintiffs in the deposition. Next,

Defendants moved to compel further deposition testimony of Hess, arguing that

Plaintiffs’ and Hess’s counsel improperly instructed Hess not to answer questions

that were within the scope of the Special Master’s limitations. See ECF No. 32993.

Now that the Special Master has ruled that—in the majority of instances—Hess was

properly instructed not to answer defense counsel’s questions, Defendants have

changed their approach. Unsatisfied with the Special Master’s order largely denying

their motion to compel, Defendants now challenge the Special Master’s rulings

limiting the scope of the deposition in the first place. In other words, because

Defendants cannot legitimately argue that their attempted questioning falls within

the Special Master’s parameters (as they did in their motion to compel10), Defendants

now argue that an unrestricted deposition of Hess is warranted and that the Special




10
 As the Special Master made clear at the hearing on Defendants’ motion to compel, “[t]he only
question now is whether the questions that were objected to fit within the parameters. We are not
going back to square one and hearing the issues de novo.” Exhibit F, Transcript of August 5, 2024
hearing at 25:21-25.
                                               13
Case 3:16-md-02738-MAS-RLS        Document 33227      Filed 09/03/24   Page 18 of 39
                                  PageID: 257342



Master’s “extreme” limitations are unjustified. But Defendants’ opportunity to

challenge these rulings has long passed.

      The Special Master ruled that Defendants may depose Hess for the purpose of

obtaining his firsthand knowledge pertaining to Dr. Longo’s expert report on June

12, 2024. See Special Master Order No. 23; see also Special Master Order No. 26 at

2 (explaining that “[t]he parameters set by the SM are evident from the language in

the June 12 Order”). Though the limitations of the deposition were clear from this

order, “the colloquy at the start of Hess’s July 10 deposition should have been

instructive.” Special Master Order No. 26 at 3. There, “the SM heard argument,

decided the dispute, and placed its ruling on the record.” Id. at 1 (emphasis added).

Now, on August 20—well over two months after the Special Master’s original order,

and 42 days after his ruling clarifying the scope of his original order—Defendants

decide to challenge the Special Master’s limitations on the Hess deposition. This is

extremely untimely, and well over the fourteen-day requirement for parties to object

to an order of the Special Master. See Order Regarding Special Master’s Duties &

Authority at 3, ECF No. 704. Defendants have therefore waived any objection to the

Special Master’s June 12 and July 10 rulings, and their objections should be denied

on this basis alone.




                                           14
Case 3:16-md-02738-MAS-RLS              Document 33227         Filed 09/03/24      Page 19 of 39
                                        PageID: 257343



     II.      The Special Master Set Clear and Proper Limitations on the
              Deposition of Paul Hess, and Counsel’s Instructions Not to Answer
              Complied With Those Limitations.

           Unsatisfied with the Special Master’s clear orders, Defendants now argue that

the Special Master’s limitations are “inconsistent” and “unjustified” and that an

unrestricted deposition of Hess is warranted. These arguments are not only untimely

(as explained), but they also fail on the merits. The Special Master did not abuse his

discretion in largely denying Defendants’ motion to compel.

           A. The Special Master’s Limitations Have Been Consistent.

           Defendants falsely state that the Special Master’s June 12, 2024 order granting

Defendants’ motion to compel allowed for an “unrestricted” deposition of Paul Hess.

Defs.’ Objs. at 19. Not so. As the Special Master clearly articulated, his June 12 order

“did not authorize Hess to be deposed as if he were a testimonial expert”; rather,

“Hess’s deposition was authorized to fill in the factual gaps in Longo’s testimony.”

Special Master Order No. 26 (emphasis added). “Further, the SM made it clear [in

his order] that Hess’s deposition should only cover his firsthand or personal

knowledge about the tests at issue in Longo’s expert reports.”11 Id. But if that wasn’t

enough for Defendants, at the outset of Hess’s deposition “the SM heard argument,


11
   “The SM wrote: ‘[d]efendants should have an opportunity to hear from the MAS expert with
firsthand knowledge (i.e., Hess) of what was done.’ [Special Master Order No. 23] at 4; ‘Hess
has firsthand knowledge directly relevant to the critical issue of whether defendants’ products
contained asbestos.’ id. at 5; and, “Hess has important firsthand information relevant to a crucial
issue in the case that may not be obtained from another source.’ Id. at 5.” Special Master Order
No. 26 at 2-3 (quoting Special Master Order No. 23).
                                                15
Case 3:16-md-02738-MAS-RLS         Document 33227     Filed 09/03/24   Page 20 of 39
                                   PageID: 257344



decided the dispute, and placed its ruling on the record.” Id. at 2. That ruling, as

explained above, made clear that “Mr. Hess is only going to testify about his personal

observations.” Hess Dep. at 43:8-44:4.

      Defendants latch onto language in the Special Master’s June 12 Order

regarding how Hess’s deposition testimony would uncover the “how and the why”

of the testing at issue. See Special Master Order No. 23 at 3. Contrary to Defendants’

argument, this phrasing was not an invitation to ask the “how and why” of anything

that can be said to be remotely related to the PLM testing at issue. Rather, the

question of the “how and why of the testing” must stay within the parameters

established by the Court, as the Special Master has already explained. See Special

Master Order No. 26 at 3 (“To the extent ‘how and why’ questions fit into these

parameters they are permitted”).

      B. Counsel’s Instructions Not to Answer Complied with the Special
         Master’s Proper Limitations.

      The Special Master properly upheld Plaintiffs’ and Hess’s counsel’s

instructions for Hess not to answer defense counsel’s questions that exceeded the

deposition’s clear parameters. Defendants now argue what they believe they should

be able to ask Hess. In doing so, Defendants make several arguments about why the

testimony they are attempting to elicit from Hess is critical to their case. However,

as context shows, defense counsel’s improper questions were often calculated

attempts at eliciting testimony more appropriate for a testifying expert which the

                                         16
Case 3:16-md-02738-MAS-RLS                Document 33227          Filed 09/03/24      Page 21 of 39
                                          PageID: 257345



Special Master made clear was outside the scope of the Court’s order, such as

hypothetical questions, questions regarding the opinions of Defendants’ experts, and

questions regarding reports not subject to the deposition.


       1. Questions Regarding Hess’s Prior Testing in the MDL.

       The Special Master decidedly rejected defense counsel’s argument that he

should be able to ask Hess about prior testing Hess performed for an expert report

not currently at issue in this litigation. Hess Dep. at 41:1-14. Defendants now

challenge that clear ruling.12 Not only are these questions outside of the scope of the

Special Master’s direct orders, but they are irrelevant. Hess’s work provided part of

the factual basis for Dr. Longo’s Fourth Supplemental MDL Report, making his

personal observations as to those facts relevant. Defendants now argue that they need

to be able to question Hess about his prior findings because the differences between

the old and new testing are “at the heart of the critical issues about the new PLM

methodology at issue.” Defs.’ Objs. at 23.


12
   Though this argument was raised separately from Defendants’ improper instruction argument in
their July 22 motion to compel, it is nonetheless improper. As Plaintiffs previously raised,
Defendants’ argument did not meet the standard for reconsideration. See ECF No. 33056 at 22-23.
The Special Master denied this specific argument no less than five times during the July 10 Hess
deposition. See Hess Dep. 35:13-17; 36:15-21; 39:7-8; 41:7-14; 43:10-12. Defendants did not, and
still cannot show, that there is “(1) an intervening change in the controlling law; (2) the availability
of new evidence that was not available when the court . . . [rendered the judgment in question]; or
(3) the need to correct a clear error of law or fact or to prevent manifest injustice.” D’Argenzio v.
Bank of Am. Corp., 877 F. Supp. 2d 202, 206-07 (D.N.J. 2012) (quoting Max’s Seafodd Café ex
rel. Lou-Ann ex rel. Lou-Ann, Inc. v. Quinteros, 176 F.3d 669, 677 (3d Cir. 1999)). The Special
Master also refused to entertain this argument at the hearing on Defendants’ motion to compel. See
Ex. F, Transcript of August 5, 2024 hearing at 25:21-26:12.
                                                  17
Case 3:16-md-02738-MAS-RLS           Document 33227        Filed 09/03/24    Page 22 of 39
                                     PageID: 257346



       First, this topic cannot be that critical considering Defendants had not brought

it up previously. As the Special Master pointed out, “[t]he purpose of this deposition

is to ask [Hess] about his personal observations regarding the new test; that’s what

was in the defendant’s papers.”13 Hess Dep. at 43:13-17 (emphasis added); see also

Transcript of August 5, 2024 hearing at 25:21-25 (“We are not going back to square

one and hearing the issues de novo.”). Defendants assert that they “specifically

argued” this point in their original brief seeking Hess’s deposition—by pointing to

one line in their introduction section that mentions Dr. Longo’s change in PLM

methodology. ECF 32683 at 1. That is not a specific argument, or even an argument

at all. Tellingly, Defendants did not argue—or even mention—that this topic was

important or relevant in the entire section of their brief dedicated to why Hess’s

deposition testimony was relevant to the case.

       Second, Defendants are attempting to question Hess about prior testing that is

completely irrelevant to the identification of chrysotile—the type of asbestos at issue

in Dr. Longo’s Fourth Supplemental MDL Report. Defendants seek to question Hess

about prior testing regarding heavy liquid density separation that was intended to

examine J&J’s products for amphibole asbestos, not chrysotile asbestos. See Hess

Dep. 22: 13-17; 33:18-25; compare Exhibit G, MAS Second Supplemental MDL



13
  Referencing Defendants’ Opposition to the Plaintiff Steering Committee’s Motion to Quash or
for Protective Order Regarding the Subpoena of Paul Hess.
                                             18
Case 3:16-md-02738-MAS-RLS        Document 33227      Filed 09/03/24   Page 23 of 39
                                  PageID: 257347



Report (February 1, 2019) with Ex. D, Longo’s Fourth Supplemental MDL Report

(April 29, 2024). To be clear, the testing reported in Drs. Longo and Rigler’s Second

Supplemental MDL Report that was considered and approved by Judge Wolfson’s

Daubert order did not seek to identify chrysotile. The testing methodology employed

focused solely on the identification of amphibole asbestos and fibrous talc. This

comparison, which Defendants argue goes to the “central question” at issue for the

new PLM method, is a non sequitur and nothing more than an attempt to manipulate

facts and extract misleading testimony from Hess (who is not a testifying expert in

this case) to undermine Dr. Longo’s expert testimony.

      2. Questions Regarding Hess’s Other Prior Talc Testing From Other
         Cases Involving Other Talc Products.

      Defendants also attempted to ask Hess questions comparing an image he took

that is used in Dr. Longo’s Fourth Supplemental MDL Report to an image he took

testing another company’s talc. Hess Dep. at 70:6-71:21. The Special Master rightly

ruled that counsel instructed Hess not to answer. Defendants claim these questions

get to the factual issues within Hess’s personal knowledge regarding the illumination

levels and coloring. But as the Special Master reiterated, it was clear that “Hess’s

deposition should only cover his firsthand or personal knowledge about the tests at

issue in Longo’s expert reports.” Special Master Order No. 26 at 2 (emphasis added).

As Plaintiffs’ counsel stated in making the objection, defense counsel was welcome

to question Hess about his work regarding the Zimmerman Report’s image (at issue
                                         19
Case 3:16-md-02738-MAS-RLS        Document 33227      Filed 09/03/24   Page 24 of 39
                                  PageID: 257348



in this litigation), but to require Hess to compare that image with another image from

an entirely separate case involving another talcum powder product is clearly outside

the bounds of Hess’s work on Dr. Longo’s Fourth Supplemental MDL report and the

tests at issue in the MDL and beyond the scope of the Special Master’s orders.

      Moreover, the Special Master was clear and correct – in Hess’s deposition, he

was to be asked his firsthand knowledge of the testing of J&J products for the MDL.

In its objection to the Special Master’s Orders, Defendants now seek to inquire about

not J&J products – but other manufacturers’ products that have no relevance to the

MDL. The Special Master’s order precluding questions regarding the testing of other

talc products was appropriate.

      Counsels’ instructions to Hess not to answer the questions regarding this other

testing were consistent with the Special Master’s order regarding the scope of the

deposition. Moreover, defense counsel’s questions were profoundly unfair. The

“other company” testing involved R.T. Vanderbilt talc from a product that was not

identified. Hess was not shown the report in question. Rather, he was shown a

mocked up PowerPoint slide prepared by defense counsel. See Hess Dep. Ex. 8

(attached to Defendants’ Objs. as Exhibit X). There is no context for the line of

questions. Hess is not shown the portion of Dr. Longo’s report outlining the material

tested, preparation of the sample, and methodology, bench sheets, and all

photomicrographs of the structures in question. Rather, defense counsel cherry-

                                         20
Case 3:16-md-02738-MAS-RLS             Document 33227        Filed 09/03/24     Page 25 of 39
                                       PageID: 257349



picked one photomicrograph ostensibly from a 2020 report from another case which

does not appear to be depicted in its entirety (i.e., it is cropped which changes the

field of view captured in the original image) and failed to provide the other

photomicrographs of the image in question. The examination was also done by Zoom

which further limited Hess’s ability to examine the image. Even if the inquiry

regarding Vanderbilt talc was within the appropriate scope of Hess’s deposition

(which it is not), the manner in which Defendants attempted to conduct the

examination was clearly improper and unreasonable.

       The talcum powder litigation has been ongoing for more than ten years. A

myriad of products have been tested for the presence of asbestos, particularly in

cases involving mesothelioma. The Special Master’s ruling limiting the inquiry of

Hess as a non-testifying witness to J&J products for this MDL was well-reasoned

and balanced. To have ruled otherwise would have opened the deposition to

irrelevant testing far beyond the scope of this MDL and Defendants’ products and

resulted in an undue burden on Hess and on Plaintiffs.14

           3. Questions Regarding Illumination and Color Filtering.

       The Special Master also correctly ruled that certain aspects of defense

counsel’s questioning about illumination and color filtering exceeded the scope of



14
  For instance, Plaintiffs have no access to this testing as it was not performed on J&J products
and has nothing to do with this litigation.
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Case 3:16-md-02738-MAS-RLS             Document 33227        Filed 09/03/24     Page 26 of 39
                                       PageID: 257350



Hess’s deposition. Defendants asked Hess to testify beyond his “personal

observations” made in analyzing the samples that provide part of the factual basis

for Dr. Longo’s Fourth Supplemental MDL Report and compare his work with “what

somebody else did.” Hess Dep. at 36:12-14. Defense counsel was free to ask Hess

about the illumination settings he used when taking the images relevant to the Fourth

Supplemental report disclosed in the MDL. Indeed, Hess had already testified that

he used the maximum illumination settings. Id. at 88:1-3.

       But defense counsel sought more, asking Hess to speculate about whether his

microscope could capture images “as bright as” an image taken by somebody else.

Id. at 147:24-149:17. It was improper to ask a fact witness to speculate about an

image with no context as to who took the image,15 and the settings or microscope

used.16 This situation demonstrates precisely why the Special Master’s “no

comparison” limitation was necessary—Defendants were not simply trying to

understand “why . . . the brightness levels [are] too low,” see Defs. Objs. at 28, they

were attempting to create self-serving testimony by misleading a fact witness. This

line of questions involves an improper hypothetical. What another person could do

on another microscope which may or not be of the same model and set-up is a



15
   Eventually, defense counsel revealed that Defendant’s expert, Dr. Su, took the image, but only
after counsel properly instructed Hess not to answer a question asking him to compare his work to
an image of unknown provenance. Id.
16
   Further, it is unclear if the image had been modified. Dr. Su admitted photoshopping an image
to brighten it during his deposition. Exhibit H, Su Dep. 7/11/2024 at 133:16-134:6.
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Case 3:16-md-02738-MAS-RLS        Document 33227      Filed 09/03/24   Page 27 of 39
                                  PageID: 257351



hypothetical question. The Special Master’s order was clear: “Hess’s deposition was

not approved for him to answer hypothetical questions.” Special Master Order No.

26 at 4.

      Counsel also properly instructed Hess not to answer whether he knew “what

the purpose is of a blue light or daylight filter” because Hess did not observe,

analyze, or comment on the purpose of a blue light or daylight filter in relation to

the analyses he conducted as a part of the testing that form in part the factual basis

for Dr. Longo’s Fourth Supplemental MDL Report. Id. at 65:19-20. Hess testified

that the microscope he used “had a blue diffusion, but there was nothing in – to do

white balance, you have to have a white background.” Id. at 62:24-63:4. Defendants

argue that they want to know “if the reason why the filter is not being used is due to

Hess’s awareness of its purpose.” Defs.’ Objs. at 29. But this is irrelevant—Hess

performs his work on the PLM analyses. Hess testified that he did not use a blue

diffuser or blue filter. He did not recall if there was a blue filter on the Olympus

microscope. Hess Dep. at 65:5-11. His methodology is a product of his discussions

with and under the direction of Dr. Longo. Hess’s understanding or opinion about

the methodology and why a blue filter should or should not be used is therefore not

relevant. Moreover, just because the question “does not involve a comparison,” see

Defs.’ Objs. at 29, does not mean it is fair game. Hess testified to the methodology

that he employed which was within the defined scope of the deposition. Questions

                                         23
Case 3:16-md-02738-MAS-RLS           Document 33227       Filed 09/03/24    Page 28 of 39
                                     PageID: 257352



regarding Hess’s understanding or opinions regarding the use of filters or techniques

are more appropriate for a testifying expert.

          4. Questions Regarding the Calidria Reference Sample.

       The Special Master also correctly ruled that defense counsel’s questioning

about the Calidria reference sample went outside the Court-imposed boundaries on

Hess’s deposition.17 For example, defense counsel improperly asked Hess to conduct

a mid-deposition analysis comparing dispersion staining colors using the Calidria

reference sample, id. at 178:20-22, without laying the requisite foundation that the

samples were produced in the MDL, which was necessary to make this a permissible

deposition topic, see id. at 34:9-35:17 (Special Master agreeing that Plaintiffs’

counsel “is correct that the subject matter should only be limited to . . . this new

method” based on argument that it “is not fair” to question Hess about reports that

were not disclosed in the MDL). Plaintiffs’ counsel raised this issue during the

deposition, noting that the Calidria reference sample “is not a part of [the] reports

[produced in the MDL] and it’s not something that’s [within the] . . . appropriate

scope of this deposition.” Id. at 175:16-25. In addition, defense counsel was unable

to identify a report where the image in question was obtained. Hess Dep. at 169:12-

175:25. Defense counsel plowed ahead anyway, saying that “I am going to go back



17
   Hess answered numerous questions about Calidria in relation to his analysis of chrysotile
structures in talc. See, e.g., Hess Dep. 159:11-14; 164:1-7; 166:8-167:1.
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Case 3:16-md-02738-MAS-RLS         Document 33227      Filed 09/03/24    Page 29 of 39
                                   PageID: 257353



to the image and I am going to ask you some questions and if you’re instructed not

to answer, you are instructed not to answer.” Id. at 176:22-25. Given this blatant

disregard for the Court-ordered limitation on Hess’s deposition, counsel properly

instructed Hess not to answer.

      Likewise, a deposition limited to Hess’s “personal observations” during

specific tests leaves no room for quizzing Hess about his general knowledge

concerning the potential presence of impurities in Calidria or how a “property of

physics changes” Calidria’s coloration. Id. at 177:12-13 (“[Y]ou’re aware that

Calidria can have impurities in it, too?”); id. at 159:15-20 (“So how is it in your view

that somehow Calidria is also showing golden yellow? What physical—what

property of physics changes it so that sometimes when you’re finding it, it’s to you

golden yellow as opposed to magenta?”). Stated differently, Hess did not make any

personal observations about the presence of impurities in Calidria samples or the

effect of properties of physics on Calidria coloration while analyzing the samples

that provide in part the factual basis for Dr. Longo’s Fourth Supplemental MDL

Report, so such questioning is properly outside of the deposition’s scope.

      Defendants argue that “[w]hether the particle being used as the reference is

actually chrysotile is incredibly significant and clearly fair game for questioning

considering that Hess is the one who came up with the idea of this reference sample

[and] took the images of the sample . . . .” Defs.’ Objs. at 32. But Hess testified that

                                          25
Case 3:16-md-02738-MAS-RLS          Document 33227      Filed 09/03/24    Page 30 of 39
                                    PageID: 257354



he and Dr. Longo collaborated on the decision to use Calidria as a reference. Hess

Dep. at 157:25-158:1-4. The fact that Hess was involved in the decision and took the

reference image does not mean that it is proper to question Hess about this issue. To

be clear, this topic is well within Dr. Longo’s knowledge, Plaintiffs’ testifying expert,

and Dr. Longo has been examined at length regarding Calidria in prior depositions.

See Ex. D, Longo Fourth Supplemental MDL Report (April 29, 2024), at 12; Exhibit

I, Longo Dep. 10/3/2022, at 606:13-21; see also Special Master Order. No. 23 at 5

(explaining that Hess’s testimony is important to the extent that his firsthand

knowledge cannot be obtained from another source).

          5. Questions Regarding the Chrysotile Reference Sample in the ISO
             22262-1 Methodology.

      The Special Master correctly ruled that defense counsel overstepped the

Court-ordered boundaries of Hess’s deposition by asking him to compare his work

to the ISO reference sample, i.e., someone else’s work. Compare id. at 110:16-21

(asking Hess to compare his work to the ISO standard reference chrysotile), with id.

at 36:12-14 (“The deposition is not to get Mr. Hess’[s] opinion on what somebody

else did or what somebody else opines.”). Indeed, during the deposition, Plaintiffs’

counsel explained that this question violated the Special Master’s order because it

relied on “an incomplete depiction of what’s being examined” and included “images

that are not . . . Mr. Hess’[s].” Id. at 110:23-25. In addition, it sought “a comparison



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Case 3:16-md-02738-MAS-RLS        Document 33227     Filed 09/03/24    Page 31 of 39
                                  PageID: 257355



between the photomicrograph that Mr. Hess took to an ISO record for chrysotile,”

which “is beyond the scope of this deposition.” Id. at 111:24-112:2.

      Defendants denounce the Special Master’s “no comparison” limitation. But

once again, the context surrounding the ISO reference image illustrates exactly why

such a limitation is necessary. Defense counsel sought to have Hess compare the

color he assigned to a particle in an image to an ISO reference image of chrysotile

and its corresponding color or RI value. A comparison of the ISO image was not

part of the process Hess used to identify chrysotile asbestos in the samples of

Defendants’ products, and therefore, the inquiry was clearly outside the boundaries

set by the Special Master. Furthermore, the ISO image is not representative of all

chrysotile samples; it is an image of chrysotile from one source in Canada. While

that source of chrysotile is the subject of the NIST Standard Reference Material

(“SRM”) 1866b, there are forms of chrysotile that exhibit different characteristics.

As the National Institute of Standards & Technology states in its Certificate for

Standard Reference Material 1866b, “various conditions, such as geographic origin

or acid/heat treatment of the asbestos, could cause the optical properties of the

asbestos in bulk insulation samples to vary considerably from the materials

comprising this SRM.” Exhibit J, NIST 1866B Standard, pg. 1. Even Defendants’

expert Dr. Su has acknowledged that “there are chrysotile minerals whose RIs are

significantly higher than those of the standard chrysotile from the NIST SRM 1866

                                         27
Case 3:16-md-02738-MAS-RLS         Document 33227       Filed 09/03/24   Page 32 of 39
                                   PageID: 257356



set.” Exhibit K, Shu-Chun Su, “The Dispersion Staining Technique and its

Application to Measuring Refractive Indices of Non-opaque Materials, with

Emphasis on Asbestos Analysis,” The Microscope (2022), at p.56. During his

deposition, Dr. Su admitted that “chrysotile is a family of minerals [that] depending

on where it comes from may have a different refractive index than chrysotile from

another place in the world.” Ex. H, Su Dep. 7/11/2024, at 69:12-16. And thus,

according to Dr. Su, chrysotile “taken from Canada . . . may have a different

refractive index than chrysotile taken from somewhere else[.]” Id. at 69:17-18.

      As this background demonstrates, Defendants’ line of questioning is not an

innocent attempt at understanding Hess’s personal observations when identifying

chrysotile, but rather a calculated effort to elicit testimony from Hess that is beyond

the scope of the deposition as set by the Special Master. These areas of inquiry are

more properly direct to Plaintiffs’ designated testimonial expert, Dr. Longo. And

contrary to Defendants’ argument, carefully rephrasing a question intending to elicit

the same comparative testimony does not change this fact. See Defs.’ Objs. at 34-35;

Hess Dep. 112:20-23 (“As a fact, factually, you assigned a darker purple color to that

particle on the left than standard reference chrysotile.”).

          6. Questions Regarding Drs. Su and Wylie’s Reviews of Dr. Longo’s
             Reports.

      The Special Master correctly held that Hess was properly instructed not to

answer defense counsel’s questions asking Hess to comment on Defendants’ experts’

                                          28
Case 3:16-md-02738-MAS-RLS              Document 33227         Filed 09/03/24      Page 33 of 39
                                        PageID: 257357



review of his work. See Special Master Order No. 26 at 4 (“Hess’s deposition was

not approved for him to . . . comment on defendants’ expert reports.”). For example,

defense counsel asked Hess if he had “any comments on the – on [Dr. Wylie’s]

review of your work?” Hess Dep. at 85:10-11. This line of question in no way

probative of Hess’s personal observations or firsthand knowledge of the tests he

performed for Dr. Longo’s report. In fact, these questions not only call for Hess’s

opinions, but they also call for his opinions about other experts’ opinions.18 This

surpasses even the broad “how and why of the testing” standard that Defendants

proffer. Moreover, the fact that Hess reviewed Drs. Su and Wylie’s reports in

preparation for his deposition does not change the fact that it is not proper for Hess—

who is not a testimonial expert in this case—to comment on another expert’s work.

           7. Questions Regarding the Effect of Switching Oils.

       The Special Master was likewise correct in upholding Plaintiffs’ and Hess’s

counsel’s instruction not to answer questions regarding MAS’s change in the type of

oil used for testing. See Hess Dep. at 91:7-8 (“What is the expected effect of

switching to . . . 1.560 oil?”); id. at 98:12-15 (“[I]f I have a particle that is orange in

parallel in 1.550 and I change my oil to 1.560, it should appear more magenta,

right[?]”). These indirect and hypothetical questions reached far beyond Hess’s


18
  Indeed, the Court said in no uncertain terms that the “deposition is not to get Mr. Hess’[s]
opinion on what somebody else did or what somebody else opines.” Hess Dep. at 36:10-14
(emphasis added).
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Case 3:16-md-02738-MAS-RLS         Document 33227      Filed 09/03/24    Page 34 of 39
                                   PageID: 257358



personal observations and firsthand knowledge of the testing he did for Dr. Longo’s

report. These questions are proper for Dr. Longo, Plaintiffs’ designated expert

witness. In fact, these questions concerning reasons the oil being used was changed

were asked and answered by Dr. Longo. See Ex. C, Longo MDL Dep. 5/2/2024 at

33:1-37:16.

          8. Other Questions Regarding Hess’s Testing.

      Last, the Special Master properly upheld Plaintiffs’ and Hess’s counsel’s

instructions not to answer defense counsel’s “other questions.” Hess’s general

knowledge about testing methods and publications simply does not fall within the

narrow confines of a fact deposition covering Hess’s personal observations while

analyzing the samples that provide in part the factual basis for Dr. Longo’s Fourth

Supplemental Report. Accordingly, counsel properly instructed Hess not to answer

these questions. Hess Dep. at 57:2-22 (asking Hess whether “the central stop

dispersion staining colors of talc plates themselves in 1.550 oil include the color red”

without any reference to a specific particle that Hess analyzed); id. at 102:9-103:15

(asking Hess about properties of Cargille glass that he did not observe when helping

Dr. Longo with the relevant analysis); id. at 140:21-141:20 (asking Hess about

“Becke line analysis,” which he did not conduct “with respect to any of the particles

that” he identified as “chrysotile in Johnson & Johnson”); id. at 158:19-21 (soliciting

an opinion about “the whole reason why dispersion staining can be used” to identify

                                          30
Case 3:16-md-02738-MAS-RLS           Document 33227        Filed 09/03/24    Page 35 of 39
                                     PageID: 257359



asbestos); id. at 162:5-11 (asking Hess about his familiarity “with any published

reference values for the refractive indices of the . . . elongated fiber of talc in parallel”

even though such questioning went “beyond the scope of the work [Hess] has done”

in the relevant reports). The Special Master heard lengthy argument by defense

counsel about each of these areas of inquiry, rejecting each of them as outside the

proper scope of the deposition. None of these topics – Cargille glass, Becke line

analysis, etc. are relevant to the actual work that Hess did in analyzing the samples

that are the subject of Dr. Longo’s Fourth Supplemental Report. The Special Master

properly found that: “Hess may only be questioned about his personal or firsthand

knowledge regarding the tests Longo relied upon in his expert reports.” Special

Master Order No. 26 at 3.

   III.   Dr. Longo’s Chrysotile Report Should Not Be Stricken.

       In a last-ditch effort, Defendants make the outrageous argument that if Hess

cannot be deposed further, Dr. Longo’s report should be stricken. Not only is this

completely unwarranted, but Defendants have not shown any authority for such

draconian action.

       First, Defendants have had more than ample opportunity to “depose the expert

and test the veracity of the expert’s statements and opinions.” Defs.’ Objs. at 40.

Indeed, Dr. Longo has been cross-examined by Defendants either in deposition or




                                             31
Case 3:16-md-02738-MAS-RLS         Document 33227      Filed 09/03/24   Page 36 of 39
                                   PageID: 257360



trial for more than 33 days, including a two-day deposition in this MDL. See Exhibit

L, Testimony List of William Longo, PhD.

      Second, the “authority” Defendants cite in support of their argument falls flat.

Defendants point to Federal Rule of Civil Procedure 37(c)(1), which states that “[i]f

a party fails to provide information or identify a witness as required by Rule

26(a) or (e), the party is not allowed to use that information or witness to supply

evidence on a motion, at a hearing, or at a trial, unless the failure was substantially

justified or is harmless.” Defendants argue that because they were not able to depose

Hess to the full amount of their satisfaction—despite the Special Master repeatedly

maintaining specific limitations—Dr. Longo’s report should be stricken. Nothing in

Rule 37(c)(1) supports such a notion. Rule 26(a), as it pertains to experts, governs

the identification of expert witnesses and necessary disclosures. Rule 26(e) concerns

supplementing those disclosures. Neither has to do with an opposing party’s

satisfaction of an expert’s—or here, the expert’s analyst’s—testimony. Moreover,

Rule 37(c)(1)’s severe sanction does not apply if “the failure was substantially

justified or is harmless.” Even if Rule 37(c)(1) did apply to this situation (it does

not), Plaintiffs’ and Hess’s counsel’s instructions not to answer were more than

substantially justified, considering they complied with the Special Master’s repeated

rulings.




                                          32
Case 3:16-md-02738-MAS-RLS          Document 33227     Filed 09/03/24      Page 37 of 39
                                    PageID: 257361



      Unsurprisingly, the two cases Defendants cite do not support their argument

either. In In re ConAgra Foods, Inc., plaintiffs had never designated the expert at

issue under Rule 26 so the court excluded that expert’s testimony because “ConAgra

had no notice that plaintiffs intended to rely on Dr. Kozup as an expert witness and

thus no opportunity to depose him or otherwise test the veracity of his statements.”

90    F.     Supp.    3d     919,     958      (C.D.    Cal.      2015).      Moreover,

Apple Inc. v. Samsung Electronics Co. involved the court’s decision to prohibit both

parties from introducing any new evidence “in the interest of fairness to the parties

and in light of the need to make efficient use of the Court’s limited resources.” No.

11-cv-1846, 2016 U.S. Dist. LEXIS 17596, at *59-60 (N.D. Cal. Feb. 10, 2016).

Neither case involved facts or circumstances remotely similar to those here.

      The Court should reject Defendants’ overreaching argument to strike Dr.

Longo’s expert report.

                                    CONCLUSION

      For these reasons, the Court should overrule Defendants’ objections to the

Special Master’s order on Defendants’ motion to compel Hess’s deposition

testimony.

Dated: September 3, 2024                Respectfully submitted,

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                                          33
Case 3:16-md-02738-MAS-RLS   Document 33227   Filed 09/03/24    Page 38 of 39
                             PageID: 257362



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                                  34
Case 3:16-md-02738-MAS-RLS        Document 33227      Filed 09/03/24    Page 39 of 39
                                  PageID: 257363



                         CERTIFICATE OF SERVICE

      I hereby certify that on September 3, 2024, I electronically filed the foregoing

document with the Clerk of the Court using the CM/ECF system which will send

notification of such filing to the CM/ECF participants registered to receive services

in this MDL.

                                              Respectfully submitted,

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                                         35
